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          EXHIBIT 24
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                                                                                                                                                     Vanguard ®
Vanguard Russell 1000 Value Index Fund
Domestic stock fund | Institutional Shares

Fund facts
Risk level                                  Total net                Expense ratio               Ticker                   Turnover rate           Inception                   Fund
Low                  High                     assets                as of 12/20/19              symbol                   as of 08/31/20               date                  number
 1     2     3   4    5                  $1,164 MM                         0.07%                 VRVIX                           2.7%              12/10/10                   1849


Investment objective                                      Benchmark
Vanguard Russell 1000 Value Index Fund seeks              Russell 1000 Value Index
to track the performance of a benchmark index
that measures the investment return of                    Growth of a $10,000 investment : December 31, 2010—December 31, 2019
large-capitalization value stocks.
                                                                $26,219
Investment strategy                                             Fund as of 12/31/19
The fund employs a “passive management”—or                      $26,410
indexing—investment approach designed to                        Benchmark
                                                                as of 12/31/19
track the performance of the Russell 1000 Value
Index. The index measures the performance of                                                   2010*      2011   2012    2013    2014     2015    2016    2017      2018      2019
large-capitalization value stocks in the United
States. The fund attempts to replicate the target
index by investing all, or substantially all, of its      Annual returns
assets in the stocks that make up the index,
holding each stock in approximately the same
proportion as its weighting in the index.

For the most up-to-date fund data,
please scan the QR code below.
                                                          Annual returns                       2010*     2011    2012    2013    2014     2015    2016    2017      2018      2019
                                                              Fund                              2.08      0.30   17.42   32.40   13.37    -3.86   17.08   13.60     -8.30    26.49
                                                              Benchmark                         2.09      0.39   17.51   32.53   13.45    -3.83   17.34   13.66     -8.27    26.54


                                                          Total returns
                                                                                                                                             Periods ended September 30, 2020

                                                          Total returns              Quarter      Year to date       One year      Three years     Five years     Since inception
                                                          Fund                        5.58%            -11.59%       -5.05%          2.60%          7.58%             9.18%
                                                          Benchmark                   5.59%            -11.58%       -5.03%          2.63%          7.66%               —
                                                          The performance data shown represent past performance, which is not a guarantee of future
                                                          results. Investment returns and principal value will fluctuate, so investors’ shares, when sold,
                                                          may be worth more or less than their original cost. Current performance may be lower or higher
                                                          than the performance data cited. For performance data current to the most recent month-end,
                                                          visit our website at vanguard.com/performance .
                                                          Figures for periods of less than one year are cumulative returns. All other figures represent average
                                                          annual returns. Performance figures include the reinvestment of all dividends and any capital gains
                                                          distributions. All returns are net of expenses.




* Partial return since fund started, December 10, 2010.
Russell 1000 Value Index: Measures the performance of those Russell 1000 companies with lower price/book ratios                   F1849 092020
and lower predicted and historical growth rates.
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Vanguard Russell 1000 Value Index Fund
Domestic stock fund | Institutional Shares



Ten largest holdings*                                               Sector Diversification

1   Berkshire Hathaway Inc.                                                                       Financials                           17.5%           Telecommunications                    7.0
2   Johnson & Johnson                                                                             Industrials                          14.8            Utilities                             6.4
3   JPMorgan Chase & Co.                                                                          Health Care                          13.7            Real Estate                           4.7
4   Verizon Communications Inc.                                                                   Consumer Discretionary               12.3            Energy                                4.0
5   Walt Disney Co.                                                                               Technology                            8.3            Basic Materials                       3.7
6   Intel Corp.                                                                                   Consumer Staples                      7.6            Other                                 0.0
7   Comcast Corp.                                                                             Sector categories are based on the Industry Classification Benchmark system (“ICB”),
                                                                                              except for the “Other” category (if applicable), which includes securities that have not been
8   Pfizer Inc.                                                                               provided an ICB classification as of the effective reporting period. Beginning September
9   AT&T Inc.                                                                                 2020, FTSE Russell is enhancing the ICB structures to provide additional granularity from the
10 Alphabet Inc.                                                                              industry through subsector levels. Please note that there may be differences in sector
                                                                                              names and classifications as these changes are implemented across the industry through
Top 10 as % of total net assets                      17.2%                                    March 2021.
* The holdings listed exclude any temporary cash
investments and equity index products.




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Plain talk about risk
An investment in the fund could lose money over short or even long periods. You should expect the fund’s share price and total return to fluctuate within a
wide range, like the fluctuations of the overall stock market. The fund’s performance could be hurt by:
Stock market risk: The chance that stock prices overall will decline. Stock markets tend to move in cycles, with periods of rising stock prices and periods of
falling stock prices. The fund’s target index may, at times, become focused in stocks of a particular sector, category, or group of companies. Because the fund
seeks to track its target index, the fund may underperform the overall stock market.
Investment style risk: The chance that returns from large-capitalization value stocks will trail returns from the overall stock market. Large-cap stocks tend to
go through cycles of doing better—or worse—than other segments of the stock market or the stock market in general. These periods have, in the past, lasted
for as long as several years.
Note on frequent trading restrictions
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contact Participant Services at 800-523-1188 for additional information.
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your plan, please call 855-402-2646 .
Visit vanguard.com to obtain a prospectus or, if available, a summary prospectus . Investment objectives, risks, charges, expenses, and other
important information about a fund are contained in the prospectus; read and consider it carefully before investing .
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    Investment Products: Not FDIC Insured • No Bank Guarantee • May Lose Value

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